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 Fill in this information to identify the case:

  Debtor 1       Ronzell D. Williams aka Ronzell Devon Williams aka Ronzell Williams

  Debtor 2

 United States Bankruptcy Court for the: Southern District of Illinois

 Case number :     18-31592-lkg



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                      12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to
your proof of claim at least 21 days before the new payment is due. See Bankruptcy Rule 3002.1.
     Name of               NewRez LLC d/b/a Shellpoint Mortgage Servicing                                Court claim no.                                       9
     creditor:                                                                                           (if known):
     Last 4 digits of any number                                                                         Date of payment change:                   01/01/2021
     you use to identify the debtor's                                         6413                       Must be at least 21 days after date of
     account:                                                                                            this notice

                                                                                                         New total payment:                         $677.74
                                                                                                         Principal, interest, and escrow, if any


Part 1:      Escrow Account Payment Adjustment

1.   Will there be a change in the debtor's escrow account payment?
      [ ] No
      [X]     Yes. Attach a copy of the escrow account statement prepared in a form consistent with the applicable nonbankruptcy law.
                       Describe the basis for the change. If a statement is not attached, explain why:

                              Current escrow payment: $335.24                                 New escrow payment: $383.94



Part : 2      Mortgage Payment Adjustment

2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
   variable-rate account?

      [X] No
      [ ] Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a
                      notice is not attached, explain why:

                      Current interest rate:                                         New interest rate:
                      Current Principal and interest payment:                        New principal and interest payment:



Part 3:      Other Payment Change

3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
       [X] No
       [ ] Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                       agreement. (Court approval may be required before the payment change can take effect).
                       Reason for change:
                              Current mortgage payment:                                       New mortgage payment:




Official Form 410S1                                                      Notice of Mortgage Payment Change                                                     page 1
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Debtor 1 Ronzell D. Williams aka Ronzell Devon Williams aka Ronzell                  Case number (if known)             18-31592-lkg
Williams
                First Name             Middle Name            Last Name




Part 4:           Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

Check the appropriate box:


[]       I am the creditor.

[X]       I am the creditor's attorney or authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.


         /s/ Mary Vitartas                                                                 Date             11/24/2020
    Signature



Print:                       Mary Vitartas                                        Title Authorized Agent for Creditor

Company                      Padgett Law Group

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                   Email              PLGinquiries@padgettlawgroup.com




Official Form 410S1                                                   Notice of Mortgage Payment Change                                page 2
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                                      CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to the parties

                                                                                                 25th
on the attached Service List by electronic service and/or by First Class U.S. Mail on this the _________ day of

November, 2020.



                                                     /S/ Mary Vitartas

                                                     ___________________________________
                                                     MARY VITARTAS
                                                     PADGETT LAW GROUP
                                                     6267 Old Water Oak Road, Suite 203
                                                     Tallahassee, FL 32312
                                                     (850) 422-2520 (telephone)
                                                     (850) 422-2567 (facsimile)
                                                     PLGinquiries@padgettlawgroup.com
                                                     Authorized Agent for Creditor




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                             SERVICE LIST (CASE NO. 18-31592-lkg)

Debtor
Ronzell D Williams
1724 4th St
Madison, IL 62060
aka Ronzell Devon Williams
aka Ronzell Williams

Attorney
Jerry D Graham, Jr
JD Graham PC
1 Eagle Center
Suite 3A
O`Fallon, IL 62269

Trustee
Russell C Simon
Chapter 13 Trustee
24 Bronze Pointe
Swansea, IL 62226

US Trustee
United States Trustee
Becker Bldg, Room 1100
401 Main St
Peoria, IL 61602




Official Form 410S1                Notice of Mortgage Payment Change                 page 4
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                                                         Servicing
                                                         PO Box 10826
                                                         Greenville, SC 29603 0826
                                                         For Inquiries: (800) 365-7107

                                                                                                               Analysis Date:                             November 12, 2020
       RONZELL WILLIAMS                                                                                        Loan:
       SHEIL WILLIAMS
       1724 4TH ST                                                                                             Property Address:
       MADISON IL 62060                                                                                        1724 4TH ST
                                                                                                               MADISON, IL 62060




                                                Annual Escrow Account Disclosure Statement - Account History
     The following is an overview of your escrow account with Shellpoint Mortgage Servicing. It contains the history of escrow payments made on your
     behalf in the prior year, and a snapshot of the anticipated disbursements for the coming year. Any potential adjustments due to increases or
     decreases with your escrow items may affect your monthly escrow payment. If your escrow payment increases, your monthly payment will also
     increase. If the escrow payment decreases, your mortgage payment will decrease.
Payment Information       Contractual     Effective Jan01, 2021        Prior Esc Pmt         February 01, 2020        Escrow Balance Calculation
P & I Pmt:                    $293.80                    $293.80**     P & I Pmt:                       $293.80       Due Date:                               September 01, 2020
Escrow Pmt:                   $335.24                    $383.94       Escrow Pmt:                      $335.24       Escrow Balance:                                   -$323.48
Other Funds Pmt:                $0.00                      $0.00       Other Funds Pmt:                   $0.00       Anticipated Pmts to Escrow:                     $1,340.96
Asst. Pmt (-):                  $0.00                      $0.00       Asst. Pmt (-):                     $0.00       Anticipated Pmts from Escrow (-):                  $261.17
Reserve Acct Pmt:               $0.00                      $0.00       Resrv Acct Pmt:                    $0.00
Total Payment:                $629.04                    $677.74       Total Payment:                   $629.04       Anticipated Escrow Balance:                          $756.31

Shortage/Overage Information                      Effective Jan01, 2021           Cushion Calculation: Because Shellpoint Mortgage Servicing does not set your tax
Upcoming Total Annual Bills                                                       amounts or insurance premiums, your escrow balance contains a cushion of 703.10.
                                                               $4,218.58
Required Cushion                                                 $703.10          A cushion is an additional amount of funds held in your escrow in order to prevent the
Required Starting Balance                                      $1,145.01          balance from becoming overdrawn when an increase in the disbursement amount
Escrow Shortage                                                 -$388.70          occurs. Your lowest monthly balance should not be below 703.10 or 1/6 of the
Surplus                                                            $0.00          anticipated payment from the account.
      ** The terms of your loan may result in changes to the monthly principal and interest payments during the year.
     This is a statement of actual activity in your escrow account from Dec2019 to Dec 2020. Last year's anticipated activity (payments to and from your
     escrow account) is next to the actual activity.
                        Payments to Escrow                   Payments From Escrow                                                 Escrow Balance
        Date            Anticipated      Actual              Anticipated       Actual                 Description                 Required              Actual
                                                                                                 Starting Balance                       0.00         (1,444.64)
       Dec 2019                                 315.43                                       *                                          0.00         (1,129.21)
       Feb 2020                                 315.43                                       *                                          0.00           (813.78)
       Mar 2020                                 315.43                                       *                                          0.00           (498.35)
       Mar 2020                                 335.24                                       *                                          0.00           (163.11)
       Apr 2020                                 335.24                                       *                                          0.00            172.13
       Jun 2020                                 335.24                                       *                                          0.00            507.37
       Jun 2020                                 670.48                                       *                                          0.00          1,177.85
       Jun 2020                                 335.24                                       *                                          0.00          1,513.09
       Jun 2020                                                                     245.89   *   County Tax                             0.00          1,267.20
       Aug 2020                                 335.24                                       *                                          0.00          1,602.44
       Aug 2020                                                                     245.89   *   County Tax                             0.00          1,356.55
       Sep 2020                                 335.24                                       *                                          0.00          1,691.79
       Sep 2020                                                                     245.89   *   County Tax                             0.00          1,445.90
       Sep 2020                                                                   3,219.74   *   Hazard                                 0.00         (1,773.84)
       Oct 2020                                 335.24                                       *                                          0.00         (1,438.60)
       Nov 2020                                 335.24                                       *                                          0.00         (1,103.36)
                                                                                                 Anticipated Transactions               0.00         (1,103.36)
       Dec 2020                               1,340.96 P                           261.17        County Tax                                             (23.57)
                                $0.00         $5,639.65             $0.00        $4,218.58
     An asterisk (*) indicates a difference from a previous estimate either in the date or the amount . If you want a further explanation, please call our toll -free number.
     P - The letter (P) beside an amount indicates that the payment or disbursement has not yet occurred but is estimated to occur as shown .
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                                                         For Inquiries: (800) 365-7107

                                                                                                                    Analysis Date:                                November 12, 2020
                                                                                                                    Loan:

                                       Annual Escrow Account Disclosure Statement - Projections for Coming Year
 This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and from your account.
      Date                    Anticipated Payments                                                                                            Escrow Balance
                             To Escrow       From Escrow                    Description                                               Anticipated           Required
                                                                            Starting Balance                                              756.31                   1,145.01
   Jan 2021                       351.55                                                                                                1,107.86                   1,496.56
   Feb 2021                       351.55                                                                                                1,459.41                   1,848.11
   Mar 2021                       351.55                                                                                                1,810.96                   2,199.66
   Apr 2021                       351.55                                                                                                2,162.51                   2,551.21
   May 2021                       351.55                                                                                                2,514.06                   2,902.76
   Jun 2021                       351.55                                                                                                2,865.61                   3,254.31
   Jul 2021                       351.55             245.89                 County Tax                                                  2,971.27                   3,359.97
   Aug 2021                       351.55                                                                                                3,322.82                   3,711.52
   Sep 2021                       351.55             245.89                 County Tax                                                  3,428.48                   3,817.18
   Oct 2021                       351.55             245.89                 County Tax                                                  3,534.14                   3,922.84
   Oct 2021                                        3,219.74                 Hazard                                                        314.40                     703.10
   Nov 2021                       351.55                                                                                                  665.95                   1,054.65
   Dec 2021                       351.55             261.17                 County Tax                                                    756.33                   1,145.03
                                $4,218.60          $4,218.58
 (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)

 Your ending balance from the last month of the account history (escrow balance anticipated) is 756.31. Your starting
 balance (escrow balance required) according to this analysis should be $1,145.01. This means you have a shortage of 388.70.
 This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
 deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to collect it over 12 months.
 We anticipate the total of your coming year bills to be4,218.58. We divide that amount by the number of payments expected during the coming year to
 obtain your escrow payment.
  New Escrow Payment Calculation                                             Paying the shortage: If your shortage is paid in full, your new monthly payment will
  Unadjusted Escrow Payment                                   $351.55        be $645.35 (calculated by subtracting the Shortage Amount to the left and
  Surplus Reduction:                                             $0.00       rounding, if applicable). Paying the shortage does not guarantee that your
  Shortage Installment:                                        $32.39        payment will remain the same, as your tax or insurance bills may have changed.
  Rounding Adjustment Amount:                                    $0.00
   Escrow Payment:                                                     $383.94
If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be advised that this notice is to advise you of the status of your mortgage loan
This notice constitutes neither a demand for payment nor a notice of personal liability to any recipient hereof, who might have received a discharge of such debt in accordance with applicable
bankruptcy laws or who might be subject to the automatic stay of Section362 of the United States Bankruptcy Code. However, it may be a notice of possible enforcement of the lien against the
collateral property, which has not been discharged in your bankruptcy.
Notice of Error or Information Request Address
You have certain rights under Federal law related to resolving errors in the servicing of your loan and requesting information about your loan. If you want to request information about your loan
or if you believe an error has occurred in the servicing of your loan and would like to submit an Error Resolution or Information Request, please write to us at the following address:
Shellpoint Mortgage Servicing
PO Box 10826
Greenville, SC 29603 0826




  Detach Here
                                                                                         Escrow Shortage Reply (This is not a bill)

   Shellpoint Mortgage Servicing                                                           Loan Number:
   PO Box 10826                                                                            Full Shortage Amount:                                        $388.70
   Greenville, SC 29603 0826
                                                                                           Payment Amount:                        $
   (800) 365-7107
                                                                                           Your escrow shortage has been spread over 12 months, resulting
                                                                                           in an additional increase in your monthly payment in the amount
                                                                                           of 32.39.


   Shellpoint Mortgage Servicing                                                           IF YOU CHOOSE to pay your shortage in full, please visit
                                                                                           www.ShellpointMtg.com in order to expedite your payment. You
   P.O. Box 740039                                                                         can also mail this coupon with your remittance of the full
   Cincinnati, OH 45274-0039                                                               shortage amount to the address to the left
